         Case5:15-cr-00226-EJD Document69 Filed08/27/15 Page1 of 5



 1   STEVEN G. KALAR
     Federal Public Defender
 2   GRAHAM ARCHER
     Assistant Federal Public Defender
 3   55 S. Market Street, Suite 820
     San Jose, CA 95113
 4   Telephone: (408) 291-7753
     Graham_Archer@fd.org
 5
     Counsel for Defendant, DOUGLAS STORMS YORK
 6

 7                             IN THE UNITED STATES DISTRICT COURT

 8                         FOR THE NORTHERN DISTRICT OF CALIFORNIA

 9                                             SAN JOSE DIVISION

10

11   UNITED STATES OF AMERICA,             )               No. CR 15-00226 EJD
                                           )
12                     Plaintiff,          )               DEFENDANT YORK’S MEMORANDUM
                                           )               OF POINTS AND AUTHORITIES
13   vs.                                   )               REGARDING COUNT ONE (18 U.S.C. §
                                           )               912) JURY INSTRUCTION
14                                         )
     DOUGLAS STORMS YORK,                  )
15                                         )
                       Defendant.          )
16   _____________________________________ )               Honorable Edward J. Davila

17                                              INTRODUCTION

18            Defendant Douglas Storms York, by and through Assistant Federal Public Defender Graham

19   Archer, submits this Memorandum of Points and Authorities in support of an alternate jury

20   instruction to the Ninth Circuit Model Instruction for Count one, an alleged violation of 18 U.S.C.

21   § 912.

22            The Ninth Circuit Model Instruction provides no explanation or direction to the jury that

23   there is a mental state required to commit the offense. Additionally, the model instruction fails to

24   explain that the “acting as such” element requires proof that the act induced the targeted individual

25   to follow some course of conduct, as required by United States v. Lepowitch, 318 U.S. 702, 704

26
     Def.’s Mem. of P & A Re: Count One Jury
     Instruction
     CR 15-00226 EJD                                   1
          Case5:15-cr-00226-EJD Document69 Filed08/27/15 Page2 of 5



 1   (1943). Accordingly the Court should give the defense’s proposed instruction regarding count one,

 2   as set forth below.

 3                                              ARGUMENT

 4           As noted in the Model Instructions themselves, “[t]he instructions in this Manual are models.

 5   They are not mandatory, and must be reviewed carefully before use in a particular case. They are

 6   not a substitute for the individual research and drafting that may be required in an individual case.”

 7   Ninth Circuit Model Criminal Jury Instructions, Introduction to 2010 Edition. If the jury is not

 8   instructed on an essential element, the prosecution is relieved of its duty to prove every element

 9   beyond a reasonable doubt, depriving the jury of its fact-finding duty, and resulting in constitutional

10   error. Carella v. California, 491 U.S. 263, 265 (1989).

11           In the instant case, where the allegation is based on an approximately thirty-second

12   voicemail, the potential for jury confusion is significant as to the necessary mens rea of an intent to

13   deceive and the potential that it will be construed by the jury in an impermissibly overbroad manner.

14   Further, the “acting as such” element requires an essential inducement to a course of conduct.1 The

15   Ninth Circuit’s model instruction fails to adequately address these issues.

16   I.      The Requirement of an Intent to Deceive Is An Element of Section 912 Based on
             Lepowitch
17

18           In Lepowitch, the United States Supreme Court held that the “acting as such” prong

19   under 18 U.S.C. § 76 (later renumbered as section 912) required that the defendant, by artifice

20   and deceit, “sought to cause the deceived person to follow some course he would not have

21

22           1
              The defense has requested a further instruction as to the requirement of an additional act
23   for the “acting as such” element based on United States v. Larson, 125 F.Supp 360 (D.C. Alaska
     1954) (holding that an indictment which charged that the defendant impersonated a United States
24   officer and falsely took upon himself to act as such, “in that he falsely stated to (a named person)
     that he was a special agent of the Federal Bureau of Investigation engaged in the investigation of
25   a criminal violation” did not state an offense)(citations omitted). Additionally, the defense has
     requested a further instruction on materiality. See Docket No. 67.
26
     Def.’s Mem. of P & A Re: Count One Jury
     Instruction
     CR 15-00226 EJD                                   2
         Case5:15-cr-00226-EJD Document69 Filed08/27/15 Page3 of 5



 1   pursued but for the deceitful conduct.” Lepowitch, 319 U.S. at 704. The Lepowitch court

 2   distinguished this element from the second offense (not charged in Mr. York’s case) found in

 3   section 76, a deceitful attempt to obtain a thing of value. Id. at 704-705.

 4           In 1948, Section 76 was renumbered to Section 912, and the language of Section 76

 5   requiring “intent to defraud” was removed. See United States v. Randolph, 460 F.2d 367 (2nd

 6   Cir. 1972). The removal was solely intended to delete redundant language, and not to delete the

 7   intent requirement identified by the Supreme Court. 18 U.S.C.A. § 912, Historical and Statutory

 8   Notes (“The words ‘with the intent to defraud the United States or any person’, contained in said

 9   § 76 of Title 18, U.S.C., 1940 ed., were omitted as meaningless in view of United States v.

10   Lapowich [sic], 63 S.Ct. 914.”). The Ninth Circuit addressed this issue in United States v.

11   Tomsha-Miguel, 766 F.3d 1041 (9th Cir. 2014). Although the court held that the government

12   was not required to plead a specific instance of fraud in the indictment, it acknowledged (citing

13   Lepowitch), that “[b]ecause § 912’s statutory elements incorporate an intent to deceive, the

14   statute reaches only those acts that are intentionally deceptive.” Id. at 1049.

15           A.      This Court Must Give An Instruction That Comports With Lepowitch

16           In the Eighth Circuit, the model jury instruction for § 912 reads as follows:

17           The crime of impersonation of a federal [officer] [employee], as charged in [Count __ of]
     the Indictment, has three elements, which are:
18
             One, the defendant pretended to be (describe the pretense, e.g., a special agent of the
19           F.B.I.); and

20           Two, such pretense was false and the defendant knew it was false; and

21           Three, the defendant, while so pretending, [acted with the intent to cause a person to
             follow some course of action or inaction] [[demanded] [obtained] some [money] [paper]
22           [document] [thing of value]].

23   Eighth Circuit Model Jury Instruction, No. 6.18.912. See Exhibit A. See also United States v.

24   Gilbert, 143 F.3d 397 (8th Cir. 1998) (“This Court has held that “to ‘act as such’ would be the

25   equivalent of causing ‘the deceived person to follow some course he would not have pursued but

26
     Def.’s Mem. of P & A Re: Count One Jury
     Instruction
     CR 15-00226 EJD                                  3
         Case5:15-cr-00226-EJD Document69 Filed08/27/15 Page4 of 5



 1   for the deceitful conduct.’” United States v. Robbins, 613 F.2d 688, 691 (8th Cir.1979) (quoting

 2   United States v. Lepowitch, 318 U.S. 702, 704, 63 S.Ct. 914, 916, 87 L.Ed. 1091 (1943)).”)

 3           This proposed instruction is thus warranted under Lepowitch and is consistent

 4   with Tomsha-Miguel. In Tomsha-Miguel, the Ninth Circuit stated that in light of vagueness and

 5   overbreadth concerns, the statute must be narrowly construed to apply only to intentionally

 6   deceptive acts:

 7           Because § 912’s statutory elements incorporate an intent to deceive, the statute reaches
             only those acts that are intentionally deceptive. See Lepowitch, 318 U.S. at 704, 63 S.Ct.
 8           914 (holding that the elements of § 912 implicitly incorporate an intent to defraud). We
             held similarly in Perelman, when we noted that § 912 was an example of a statute
 9           encompassing “a narrow range of conduct” limited to “intentionally deceptive acts.” 695
             F.3d at 871.
10

11   United States v. Tomsha-Miguel, 766 F.3d 1041, 1049 (9th Cir. 2014). Any broader application

12   of the statute by the jury would result in an impermissibly vague reading, would violate the

13   notice requirement of the Due Process Clause, and would impinge upon First Amendment

14   protections.

15           Similarly, in the Eleventh Circuit, the pattern instruction reads as follows:

16           It is a Federal crime to falsely impersonate an officer of the United States.

17         The Defendant can be found guilty of this crime only if all the following facts are proved
     beyond a reasonable doubt:
18
             (1)       the Defendant pretended to be an officer or employee acting under the authority
19                     of the United States;

20           (2)       the Defendant acted as such;

21           (3)       the Defendant did so knowingly with intent to deceive or defraud another.

22          For purposes of this crime, to act “with intent to deceive or defraud” means to act with
     the specific intent to get a person to do something he would not otherwise have done.
23

24   Eleventh Circuit, Model Jury Instruction No. 33. See Exhibit B.

25           Both of these instructions accurately explain the burden of the government to prove

26
     Def.’s Mem. of P & A Re: Count One Jury
     Instruction
     CR 15-00226 EJD                                   4
         Case5:15-cr-00226-EJD Document69 Filed08/27/15 Page5 of 5



 1   deceit, though the Eleventh Circuit’s instruction includes “defraud,” which is not necessary in

 2   Tomsha-Miguel.

 3           The defense proposes that the Court give the following instruction, a combination of the

 4   Eighth and Eleventh Circuits’ instructions that comports with the section 912, Lepowitch, and

 5   Tomsha-Miguel:

 6           It is a Federal crime to falsely impersonate an officer of the United States.

 7           The Defendant can be found guilty of this crime only if all of the following facts are

 8   proved beyond a reasonable doubt:

 9           (1)      the Defendant pretended to be an officer or employee acting under the authority
                      of the United States;
10
             (2)      the Defendant acted as such;2
11
             (3)      the Defendant did so knowingly with intent to deceive another.
12
             For purposes of this offense, to act “with intent to deceive” means that the defendant,
13   while so pretending, acted with the intent to cause a person to follow some course of action or
     inaction.
14

15                                             CONCLUSION

16           Because an element of deceit is still required under Section 912, the Ninth Circuit Model

17   instruction is insufficient. The Ninth Circuit’s instruction allows the jury to convict Mr. York

18   without proof beyond a reasonable doubt of all the elements under § 912. Accordingly, the

19   Court should give the defense’s proposed instruction.

20   Dated: August 27, 2015                                Respectfully submitted,

21                                                         STEVEN G. KALAR
                                                           Federal Public Defender
22

23                                                              s/
                                                           GRAHAM ARCHER
24                                                         Assistant Federal Public Defender

25
             2
                 See Docket No. 67 at 3.
26
     Def.’s Mem. of P & A Re: Count One Jury
     Instruction
     CR 15-00226 EJD                                   5
